
PRATT, J.
(dissenting). - -This action is brought- to set aside a conveyance of property valued at $105,000, made by a wife, without consideration moving to her, at the request of her husband. The proof shows that plaintiff’s son died on March 10th, and on the 19th, upon her return from the funeral, her husband informed her that he was falsely accused by the Standard Oil Company of having taken their property, and that, if she did not sign the papers that had been prepared, and were there present, he would be arrested, in which case he could not stand the disgrace, and would take his life- He said she would not lose the property; that it was only a matter of form, etc. She had no previous notice of what was required of her, had no counsel present, nor independent advice, and then and there, without further consideration, and in. the presence of the company’s agent, executed the papers. She believed he was in danger of arrest, and may have thought that in such case he would take his life.
• The principles on which a court of equity proceeds in such cases are familiar. In the recent case of Dignan v. Dignan (N. J. Ch.) 14 Atl. 887, it is held that, where one enters into an agreement, without giving the matter the slightest thought or consideration, under such circumstances that it is perfectly apparent that he acted under some unhappy influences, or some superior power, he should be-released from such obligation unless superior equities have arisen. In Sistare v. Heckscher, 45 St. Rep. 699, the wife was suddenly appealed to to execute a security for her husband’s debt. She was told it was only a matter of form, but that if she would execute it the creditor would advance money to help her husband. It does not appear that any threats were made against the husband, but the deed was set aside, although the creditor was not a party to the undue influence, which the court characterized as fraud. The rule on which courts proceed was stated in Sercombe v. Sanders, 34 Beav. 385, as follows:
“ Creditors should understand that they cannot improve their security, taken from persons to whom they have given credit, by inducing them, at the last moment, to compel near relations or persons under their influence to pay their debts.”
In that case there were no threats nor false representations; but, the party having acted hastily, and without independent professional advice, the deed was set aside. The court says i
*542“ It is not sufficient that a man knew what the actual transaction was. You must also show that is emancipated from control, and had the advantage of a separate solicitor, who would naturally have said to him, ‘You must understand you are giving up your share forever,’ etc.”
In Berdoe v. Dawson, 13 Wkly. Rep. 420, the master of the rolls held that, where a person takes from a son a security for a debt due by the father, he incurs the strongest obligation to prove, beyond a reasonable doubt, that the transaction is a righteous one, that the son understood it perfectly, and was not acting under undue influence which the father possessed over him. That to subject a women to the fear of arrest of her husband or .other near relative, in order to procure a conveyance of her property, is exercising undue influence, would seem not to require authority. Yet it is found in abundance. Ingersoll v. Roe, 65 Barb. 355; Eadie v. Slimmon, 26 N. Y. 9-15. See, also, McCandless v. Engle, 51 Pa. St. 309; Stiles v. Stiles, 14 Mich, 72 ; Wilson v. Bull, 10 Ohio, 250 ; Boyd v. De La Montagnie, 73 N. Y. 502 ; Witbeck v. Witbeck, 25 Mich. 442; Wiley v. Prince, 21 Tex. 637.
The application of these principles to the case at bar is easy. If an attempt was to be made to influence plaintiff, a woman in advanced years, to deprive herself of a fortune to please her husband, the simplest rule of honesty required that she should have ample notice, and the assistance of those who were competent to advise her, and not adversely interested. She should not have been subjected to the influence of her fears. The burden of proof was upon defendants to show, in the language of Lord Eldon, that their case was a righteous one. When it appears that she parted with a large property without consideration moving to her, the presumption of fraud arises, and must be overcome by proof. Silverthorn v. Troxall (N. J. Ch.) 12 Atl. 614. When it further appears that plaintiff was required to sign a deed previously prepared without notice to her, that she had no opportunity to get advice from disinterested parties, and her feelings were worked upon by her fear of her husband's arrest, the evidence of undue influence is irresistible. To expose her to such influence was a fraud.
It is suggested that the lapse of time has deprived plaintiff of her rights. We do not see that she was fully apprised of the facts upon which her rights depended until 1882. She owed defendants no duty of active vigilance, and she seems to have been under fears for her husband so long as he lived. The delay has not in-j ured defendants, and raises no equity in their favor.
The judgment should be set aside, and new trial.granted; costs to abide the event.
